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 8                                 UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                           SAN FRANCISCO
11

12   APPLE INC.,                                           Case No. 3:16-cv-06001-WHO

13          Plaintiff,                                     STIPULATION FOR ENTRY OF
                                                           CONSENT JUDGMENT AND
14          v.                                             PERMANENT INJUNCTION AS TO
                                                           DEFENDANT BUYRITE18, INC. AND
15   MOBILE STAR, LLC, a New York Limited                  [PROPOSED] ORDER FOR ENTRY OF
     Liability Company, et al.,                            CONSENT JUDGMENT
16
            Defendants.
17                                                         Judge: Hon. William H. Orrick

18

19
            Plaintiff Apple Inc. (“Plaintiff” or “Apple”) and Defendant BuyRite18, Inc.
20
     (“Defendant”) (collectively, the “Parties”) stipulate to the following:
21
            1.      Plaintiff Apple is a California corporation with its principal place of business
22
     located at 1 Infinite Loop, Cupertino, CA 95014.
23
            2.      Defendant BuyRite18 is a New York corporation with a principal place of business
24
     in New York located at 2232 McDonald Avenue, Brooklyn, NY 11223. Defendant has distributed,
25
     offered for sale, and sold counterfeit products bearing registered Apple trademarks and trade dress
26
     in the United States.
27

28                                                                  STIPULATION FOR ENTRY OF CONSENT
                                                                 JUDGMENT & PERMANENT INJUNCTION AS
                                                    -1-           TO BUYRITE18, INC. & [PROPOSED] ORDER
                                                                              CASE NO. 3:16-cv-06001-WHO
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 1           3.      This Court has personal jurisdiction over Defendant. Defendant has engaged in

 2   business activities in this district, directed business activities to this district, and committed

 3   tortious acts with knowledge that the effects of its acts would be felt by Apple in this district.

 4           4.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because a substantial

 5   part of the events or omissions giving rise to Apple’s claims occurred in this judicial district.

 6           5.      This Court has subject matter jurisdiction over Apple’s claims pursuant to 15

 7   U.S.C. § 1121, and 28 U.S.C. §§ 1331 (Federal Question Jurisdiction), 1367 (Supplemental

 8   Jurisdiction), and 1338(a)-(b) (Trademark, Copyright, and Unfair Competition Jurisdiction).

 9           6.      Apple owns the following United States Registered Trademarks used in connection
10   with power adapters and accessories for various Apple products:

11
                      , Reg. No. 3,679,056
12               MAGSAFE, Reg. No. 3,229,791
                 EARPODS, Reg. No. 4,891,107
13
                 IPHONE, Reg. No. 3,870,782
14               iPhone, Reg. No. 3,669,402
                 APPLE, Reg. No. 3,928,818
15               IPAD, Reg. No. 4,537,934
                 MACBOOK, Reg. No. 3,222,089
16
                 MACBOOK AIR, Reg. No. 3,522,328
17               LIGHTNING, Reg. No. 4,726,001

18

19                       , Reg. No. 4,726,738
                 DESIGNED BY APPLE IN CALIFORNIA, Reg. No. 4,604,456
20

21   Each of the above-listed registrations is valid and subsisting and was valid and subsisting at the

22   time of all acts alleged herein. Apple has and had the exclusive right to use and license the

23   trademarks identified in each of the registrations. Registration Nos. 3,679,056, 3,229,791,

24   3,870,782, 3,669,402, 3,222,089, and 3,522,328 are incontestable under 15 U.S.C. § 1065.

25           7.      Defendant used in commerce reproductions, counterfeits, and/or copies of certain

26   of Apple’s marks, including without limitation some or all of the marks identified by registration

27   number in Paragraph 6 above, in connection with the sale, offering for sale, distribution, or

28                                                                    STIPULATION FOR ENTRY OF CONSENT
                                                                   JUDGMENT & PERMANENT INJUNCTION AS
                                                      -2-           TO BUYRITE18, INC. & [PROPOSED] ORDER
                                                                                CASE NO. 3:16-cv-06001-WHO
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 1   advertising of goods in a manner that is likely to cause confusion, or to cause mistake, or to

 2   deceive. The copies of Apple’s marks used by Defendant are identical to or substantially

 3   indistinguishable from Apple’s genuine marks.

 4          8.      Defendant’s acts constitute trademark infringement and counterfeiting in violation

 5   of Apple’s rights under Section 32(1) of the Lanham Act, 15 U.S.C. § 1114(1), trademark

 6   infringement and false designation of origin in violation of Apple’s rights under Section 43(a) of

 7   the Lanham Act, 15 U.S.C. § 1125(a), and unfair competition against Apple in violation of Cal.

 8   Bus. & Prof. Code § 17200 et seq. and the common law of the State of California.

 9          9.      Apple has suffered damages and irreparable harm as a result of Defendant’s
10   conduct and will continue to suffer irreparable injury unless Defendant and its officers, agents, and

11   employees and all persons acting in concert with them, are enjoined from engaging in any further

12   such acts in violation of Sections 32(l) and 43(a) of the Lanham Act, 15 U.S.C. §§ 1114(1) and

13   1125(a), Cal. Bus. & Prof. Code § 17200 et seq. and the common law of the State of California.

14          10.     On October 27, 2016, Plaintiff commenced the above-captioned action (the “Civil

15   Action”) by filing a Complaint against Mobile Star, LLC. On August 30, 2017, Plaintiff filed a

16   Second Amended Complaint (the “Second Amended Complaint”) asserting claims against

17   Defendant and other parties. The Second Amended Complaint alleges claims against Defendant

18   for trademark counterfeiting, trademark infringement, false designation of origin, and unfair

19   competition arising under Sections 32 and 43 of the Federal Trademark Act of 1946 (the “Lanham
20   Act”), 15 U.S.C. §§ 1114, 1125, Cal. Bus. & Prof. Code §§ 17200 et seq., and the common law.

21          11.     Defendant consents to the entry of judgment against it on Apple’s claims.

22          12.     Defendant consents to a permanent injunction as follows:

23                  a.      Defendant BuyRite18, Inc. and all affiliated or related entities, agents,

24          officers, employees, servants, representatives, successors, assigns, and attorneys, and all

25          those in active concert or participation with any of them, and all other persons acting for,

26          with, by, through or under authority from Defendant, are hereby PERMANENTLY

27          ENJOINED AND RESTRAINED from:

28                                                                  STIPULATION FOR ENTRY OF CONSENT
                                                                 JUDGMENT & PERMANENT INJUNCTION AS
                                                    -3-           TO BUYRITE18, INC. & [PROPOSED] ORDER
                                                                              CASE NO. 3:16-cv-06001-WHO
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 1                     i.      manufacturing, producing, acquiring, purchasing, importing,

 2              receiving, exporting, distributing, circulating, selling, offering for sale,

 3              advertising, promoting, or displaying any products bearing any trademarks or trade

 4              dress owned by Apple, now or in the future (collectively, “Apple’s Marks”), or

 5              any simulation, reproduction, counterfeit, copy, colorable imitation or confusingly

 6              similar variant of Apple’s Marks, except this Paragraph shall not apply to Apple’s

 7              genuine branded products;

 8                    ii.      copying, imitating, or making unauthorized use of any of Apple’s

 9              Marks or any simulation, reproduction, counterfeit, copy, colorable imitation or
10              confusingly similar variant thereof;

11                   iii.      using any false designation of origin or false description, or

12              performing any act which is likely to lead members of the trade or public falsely to

13              believe that any product not authorized by Apple is in any manner associated or

14              connected with Apple, or is manufactured, distributed, sold, licensed, sponsored,

15              approved or authorized by Apple;

16                   iv.       engaging in any other activity constituting infringement of any of

17              Apple’s Marks or constituting unfair competition with Apple;

18                    v.       disposing of, destroying, altering, moving, removing, concealing,

19              tampering with or in any manner secreting any physical evidence or documents
20              (including computer records and electronic documents) of any kind, including

21              invoices, books of account, receipts or other documentation, relating to the

22              purchase, sale or distribution of any products bearing Apple’s Marks for a period

23              of one (1) year after entry of this Judgment for the purposes of possible future

24              enforcement activities, except with the prior written consent of Apple’s counsel or

25              leave of Court;

26                   vi.       acting through or forming other entities or associations, or using any

27              other instrumentalities or devices, for the purpose of circumventing, evading,

28                                                              STIPULATION FOR ENTRY OF CONSENT
                                                             JUDGMENT & PERMANENT INJUNCTION AS
                                                -4-           TO BUYRITE18, INC. & [PROPOSED] ORDER
                                                                          CASE NO. 3:16-cv-06001-WHO
      Case 3:16-cv-06001-WHO Document 235 Filed 11/21/18 Page 5 of 13



 1                   avoiding or otherwise violating the prohibitions referred to in subparagraphs (i)

 2                   through (v) above; and

 3                         vii.     instructing, assisting, aiding or abetting any other person or entity in

 4                   engaging in or performing any of the activities referred to in subparagraphs (i)

 5                   through (vi) above.

 6                  b.       Defendant shall, within ten (10) days of the Court’s entry of this Judgment,

 7          deliver to Apple’s counsel for destruction at Defendant’s costs any and all infringing,

 8          counterfeit, or otherwise unlawful products of any kind that bear, contain, or incorporate

 9          any of the Apple Marks, or any simulation, reproduction, counterfeit, copy, colorable
10          imitation or confusingly similar variant thereof (“Counterfeit Goods”) that are in

11          Defendant’s possession, custody, or control.

12                  c.       Defendant shall notify Apple’s counsel on an ongoing basis of any

13          Counterfeit Goods it may receive. Such notification shall be made within five (5) business

14          days of Defendant learning that it has received such Counterfeit Goods and, unless

15          otherwise instructed by Apple or its counsel, Defendant shall turn over such Counterfeit

16          Goods to Apple’s counsel within five (5) business days of making such notification. No

17          liability shall attach to Defendant in connection with its timely compliance with this

18          provision, provided Defendant is otherwise in compliance with the terms of this Judgment.

19                  d.       Any products turned over to Apple’s counsel by Defendant may be
20          destroyed and/or disposed of at Apple’s judgment and in such manner as Apple deem

21          appropriate.

22          13.     Each party shall pay its own attorneys’ fees and costs.

23          14.     Defendant waives any right to appeal the consent judgment.

24          15.     This Court retains continuing jurisdiction for purposes of enforcement of the

25   judgment. If any such violation occurs, the Court shall award, (a) without regard to proof of actual

26   damages, an amount the Court deems adequate to compensate Plaintiff for such violation; (b)

27   injunctive relief enjoining any further violation of this Order, or such modifications to the present

28                                                                   STIPULATION FOR ENTRY OF CONSENT
                                                                  JUDGMENT & PERMANENT INJUNCTION AS
                                                    -5-            TO BUYRITE18, INC. & [PROPOSED] ORDER
                                                                               CASE NO. 3:16-cv-06001-WHO
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 1   Order as the Court deems appropriate; and (c) reasonable attorneys’ fees, costs and disbursements,

 2   as determined by the Court; and (d) such other relief as the Court deems just and proper.

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28                                                                STIPULATION FOR ENTRY OF CONSENT
                                                               JUDGMENT & PERMANENT INJUNCTION AS
                                                   -6-          TO BUYRITE18, INC. & [PROPOSED] ORDER
                                                                            CASE NO. 3:16-cv-06001-WHO
     Case 3:16-cv-06001-WHO Document 235 Filed 11/21/18 Page 7 of 13



 1   Dated: November 21, 2018

 2   PLAINTIFF APPLE INC.                      DEFENDANT BUYRITE18, INC.

 3

 4   /s/ Nathan Shaffer                        /s/ Abe Lampart
     Thomas H. Zellerbach                      Abe Lampart
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     tzellerbach@orrick.com                    abe@lampartlaw.com
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 9   Menlo Park, CA 94025
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27

28
                                                       STIPULATION FOR ENTRY OF CONSENT
                                                    JUDGMENT & PERMANENT INJUNCTION AS
                                             -7-     TO BUYRITE18, INC. & [PROPOSED] ORDER
                                                                 CASE NO. 3:16-cv-06001-WHO
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 1      ORDER FOR ENTRY OF CONSENT JUDGMENT PURSUANT TO STIPULATION

 2            The Court, having considered the Stipulation for Entry of Consent Judgment and

 3   Permanent Injunction as to BuyRite18, Inc. (“Stipulation”), hereby directs the Clerk of the Court

 4   to enter the attached form of Consent Judgment in accordance with the parties’ Stipulation and

 5   this Order.

 6            IT IS SO ORDERED.

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     Dated:                                                     The Honorable William H. Orrick
 9                                                                United States District Judge
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                                                                  STIPULATION FOR ENTRY OF CONSENT
28                                                             JUDGMENT & PERMANENT INJUNCTION AS
                                                   -8-          TO BUYRITE18, INC. & [PROPOSED] ORDER
                                                                            CASE NO. 3:16-cv-06001-WHO
      Case 3:16-cv-06001-WHO Document 235 Filed 11/21/18 Page 9 of 13



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 8                                UNITED STATES DISTRICT COURT
 9                              NORTHERN DISTRICT OF CALIFORNIA
10                                            SAN FRANCISCO
11

12   APPLE INC.,                                           Case No. 3:16-cv-06001-WHO

13          Plaintiff,                                     CONSENT JUDGMENT

14          v.
                                                           Judge: Hon. William H. Orrick
15   MOBILE STAR, LLC, a New York Limited
     Liability Company, et al.,
16
            Defendants.
17

18                                        CONSENT JUDGMENT

19          Based on the parties’ Stipulation for Entry of Consent Judgment and Permanent Injunction,

20   judgment is hereby entered as follows:

21          1.      The Court has jurisdiction over the parties and the subject matter of this Litigation.

22          2.      This Judgment is hereby entered in favor of Apple against Defendant BuyRite18,

23   Inc. Each party is to bear its own fees and costs.

24          3.      Defendant BuyRite18, Inc. and all affiliated or related entities, agents, officers,

25   employees, servants, representatives, successors, assigns, and attorneys, and all those in active

26   concert or participation with any of them, and all other persons acting for, with, by, through or

27   under authority from Defendant, are hereby PERMANENTLY ENJOINED AND

28   RESTRAINED from:


                                                                                      CONSENT JUDGMENT
                                                    -1-                          CASE NO. 3:16-cv-06001-WHO
     Case 3:16-cv-06001-WHO Document 235 Filed 11/21/18 Page 10 of 13



 1                 a.    manufacturing, producing, acquiring, purchasing, importing, receiving,

 2        exporting, distributing, circulating, selling, offering for sale, advertising, promoting, or

 3        displaying any products bearing any trademarks or trade dress owned by Apple, now or in

 4        the future (collectively, “Apple’s Marks”), or any simulation, reproduction, counterfeit,

 5        copy, colorable imitation or confusingly similar variant of Apple’s Marks, except this

 6        Paragraph shall not apply to Apple’s genuine branded products;

 7                 b.    copying, imitating, or making unauthorized use of any of Apple’s Marks or

 8        any simulation, reproduction, counterfeit, copy, colorable imitation or confusingly similar

 9        variant thereof;
10                 c.    using any false designation of origin or false description, or performing any

11        act which is likely to lead members of the trade or public falsely to believe that any

12        product not authorized by Apple is in any manner associated or connected with Apple, or

13        is manufactured, distributed, sold, licensed, sponsored, approved or authorized by Apple;

14                 d.    engaging in any other activity constituting infringement of any of Apple’s

15        Marks or constituting unfair competition with Apple;

16                 e.    disposing of, destroying, altering, moving, removing, concealing, tampering

17        with or in any manner secreting any physical evidence or documents (including computer

18        records and electronic documents) of any kind, including invoices, books of account,

19        receipts or other documentation, relating to the purchase, sale or distribution of any
20        products bearing Apple’s Marks for a period of one (1) year after entry of this Judgment

21        for the purposes of possible future enforcement activities, except with the prior written

22        consent of Apple’s counsel or leave of Court;

23                 f.    acting through or forming other entities or associations, or using any other

24        instrumentalities or devices, for the purpose of circumventing, evading, avoiding or

25        otherwise violating the prohibitions referred to in subparagraphs (a) through (e) above; and

26                 g.    instructing, assisting, aiding or abetting any other person or entity in

27        engaging in or performing any of the activities referred to in subparagraphs (a) through (f)

28        above.

                                                                                    CONSENT JUDGMENT
                                                  -2-                          CASE NO. 3:16-cv-06001-WHO
     Case 3:16-cv-06001-WHO Document 235 Filed 11/21/18 Page 11 of 13



 1           4.      Defendant shall, within ten (10) days of the Court’s entry of this Judgment, deliver

 2   to Apple’s counsel for destruction at Defendant’s costs any and all infringing, counterfeit, or

 3   otherwise unlawful products of any kind that bear, contain, or incorporate any of the Apple Marks,

 4   or any simulation, reproduction, counterfeit, copy, colorable imitation or confusingly similar

 5   variant thereof (“Counterfeit Goods”) that are in Defendant’s possession, custody, or control.

 6           5.      Defendant shall notify Apple’s counsel on an ongoing basis of any Counterfeit

 7   Goods it may receive. Such notification shall be made within five (5) business days of Defendant

 8   learning that it has received such Counterfeit Goods and, unless otherwise instructed by Apple or

 9   its counsel, Defendant shall turn over such Counterfeit Goods to Apple’s counsel within five (5)
10   business days of making such notification. No liability shall attach to Defendant in connection

11   with its timely compliance with this provision, provided Defendant is otherwise in compliance

12   with the terms of this Judgment.

13           6.      Any products turned over to Apple’s counsel by Defendant may be destroyed at

14   Defendant’s expense and/or disposed of at Apple’s judgment and in such manner as Apple deem

15   appropriate.

16           7.      This Judgment shall be binding upon and inure to the benefit of the parties hereto

17   and their respective parents, subsidiaries, affiliates, predecessors, successors, assigns, licensees,

18   manufacturers and distributors and their officers, directors, shareholders, servants, employees,

19   attorneys, and agents, or any committee or other arrangement of creditors organized with respect
20   to the affairs of any party.

21           8.      This Court shall retain jurisdiction over this matter to enforce a material violation

22   of this Consent Judgment’s terms. If any such violation occurs, the Court shall award, (a) without

23   regard to proof of actual damages, an amount the Court deems adequate to compensate Plaintiff

24   for such violation; (b) injunctive relief enjoining any further violation of this Order, or such

25   modifications to the present Order as the Court deems appropriate; and (c) reasonable attorneys’

26   fees, costs and disbursements, as determined by the Court; and (d) such other relief as the Court

27   deems just and proper.

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                                                                                       CONSENT JUDGMENT
                                                     -3-                          CASE NO. 3:16-cv-06001-WHO
     Case 3:16-cv-06001-WHO Document 235 Filed 11/21/18 Page 12 of 13



 1            9.    This Judgment shall be deemed to have been served upon the Parties at the time of

 2   its execution by the Court.

 3            IT IS SO ORDERED.

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 6   Dated:                                                    The Honorable William H. Orrick
                                                                 United States District Judge
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                                                                                  CONSENT JUDGMENT
                                                   -4-                       CASE NO. 3:16-cv-06001-WHO
     Case 3:16-cv-06001-WHO Document 235 Filed 11/21/18 Page 13 of 13



 1                                   Local Rule 5-1(i)(3) Attestation

 2          As the signatory whose ECF login was used for this filing, I attest that concurrence in the

 3   filing of the document has been obtained from each of the other signatories.

 4

 5                                                                    /s/ Nathan Shaffer

 6                                                                      Nathan Shaffer

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                                                                                    CONSENT JUDGMENT
                                                   -5-                         CASE NO. 3:16-cv-06001-WHO
